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in THE UNITED sTATEs DIsTRICT COURT an_iwr. n_.
FoR THE wEsTERN DIsTRIcT or TENNESSEE@C f“‘¢€ '~‘*
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UNITED STATES OF AMERICA,
Plaintiff,

vs. Cv. No. 03-2814-D/P

Cr. NO. 99-20228-D
RICHARD L. QUACKENBUSH,

Defendant.

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ORDER DENYING DEFENDANT'S MOTIONS TO AMEND
ORDER DENYING MOTIONS FOR A FAVORABLE RULING OR,
IN THE ALTERNATIVE, AN EVIDENTIARY HEARING
AND
ORDER DIRECTING THE PARTIES TO FILE SUPPLEMENT BRIEFS

 

On October 31, 2003, defendant Richard L. Quackenbush,
Bureau of Prisons inmate registration number 17037-076, an inmate
at the Federal Correctional Institution Williamsburg in Salter,
South Carolina, through counsel, filed a motion pursuant to 28
U.S.C. § 2255 on October 31, 2003. The Court issued an order on May
28, 2004 directing the Government to respond to the motion. The
Government filed its response on July 7, 2004. On July 27, 2004,
Quackenbush filed what he characterized as a supplement to his §
2255 motion in which he sought to amend his motion to assert a
claim pursuant to Blakelv v. Washington, 124 S. Ct. 2531 (2004),
and to reply to the Government’s response. On August 13, 2004,
Quackenbush submitted an exhibit to his July 2?, 2004 supplement,

consisting of his factual affidavit asserting an additional claim.

This document entered on the docket heat in compllaj§e
mm sum 53 and/or 79(3) FHCP on fig 2 fe * ¢.’>.5 Q/{

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On September 10, 2004, Quackenbush filed a document entitled
“Motion for Favorable Ruling or, Alternatively, an Evidentiary
Hearing on Defendant’s Motion to Vacate, Set Aside, or Correct a
Sentence by a Person in Federal Custody.” On October 19, 2004,
Quackenbush filed a document, entitled “Supplement to Motion for
Favorable Ruling or, Alternatively, an Evidentiary Hearing on
Defendant's Motion to Vacate, Set Aside, or Correct Sentence by a
Person in Federal Custody,” in which he complained about the
hardships imposed by his incarceration in light of Hurricane Ivan.
On December 10, 2004, Quackenbush filed a second supplement to his
motion for a favorable ruling or, in the alternative, an
evidentiary hearing. On February 28, 2005, Quackenbush filed what
he characterized as a third supplement to his motion but which is,
in effect, an effort to amend his motion to assert a claim pursuant
to United States v. Booker, 125 S. Ct. 738 (2005). The Government
filed a response to defendant’s third supplement on February 28,
2005.

From 1985 to 1995, Quackenbush was the Vice President for
Underwriting for Universal Bonding Insurance Company (“Universal
Bonding”), located in New Jersey.l Universal Bonding operated as
the agent of Crum and Forster lnsurance Company (“Crum & Forster”)
and its subsidiaries, Westchester Fire Insurance Company
(“Westchester Fire”) and/or United States Fire Insurance Company

(“U.S. Fire”), through what is referred to in the insurance

 

1 The factual discussion in this order is largely taken from the

presentence report.

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industry as a reinsurance agreement. Crum & Forster, Westchester
Fire, and U.S. Fire issued powers of attorney to Quackenbush making
him an attorney*in-fact for the aforementioned companies and
authorizing him to approve the issuance of performance bonds on
their behalf.

ln order to obtain a performance bond from the
aforementioned insurance companies, the applicant ordinarily would
have to submit detailed and truthful financial information to
Universal Bonding or one of its brokers showing it had the
financial resources and sufficient assets to reimburse the
insurance companies in case a claim is made on the performance
bond. If an applicant is approved for issuance of a performance
bond, the applicant must sign a general indemnity agreement
promising to indemnify the bonding company for any bond claims. In
order to ensure that the applicant can indemnify the insurance
companies against any claims under the performance bond, the
applicant must also pledge liquid collateral in the form of cash,
letters of credit, or government securities equal to the amount of
the performance bond. Once all the information regarding the
business venture, the applicant’s financial condition, and
collateral is presented to Universal Bonding, Quackenbush. was
responsible for reviewing the application to determine that the
applicant met the insurance companies' requirements for issuance of
performance bonds. lt was the responsibility and duty of

Quackenbush to ensure that performance bonds would not be issued

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unless the aforementioned insurance companies were protected from
financial loss.

David I. Namer d/b/a Network Mortgage Services and
Offshore Insurance Services (“Namer”) maintained an office in
Memphis. Namer’s primary business was the preparation, issuance,
and sale of corporate notes to the investing public, allegedly for
the purpose of raising operating capital for various business
entities including, but not limited to, Transportation Leasing
Corporation, Montalbano Builders, Hearthstone Accommodated Living
Corporation, Lending and Investment Advisory, Inc., AVN
Corporation, Tri Star Financial, and Voyager Lines. In order to
sell these corporate notes through broker-dealers registered with
the Securities and Exchange Commission and the National Association
of Securities Dealers, Namer prepared offering statements known as
Placement Memoranda. In the Placement Memoranda and in other
representations, Namer represented to investors that all principal
and interest owing to purchasers of the corporate bonds was insured
by performance bonds issued by Universal Bonding, Crum & Forster,
Westchester Fire, and/or U.S. Fire.

Beginning in or about February, 1994, and continuing up
to and through October, 1996, Quackenbush entered into a conspiracy
with Namer and others pursuant to which Quackenbush issued
approximately $18.5 million in performance bonds insured by
Universal Bonding, Crum & Forster, Westchester Fire, and/or U.S.
Fire to companies and entitles controlled by Namer even though

those companies did not meet the insurance companies' underwriting

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requirements for issuance of performance bonds. In exchange, Namer
secretly gave Quackenbush bribes amounting to approximately
$120,000. ln 1996 and 1997, most of the bonds issued by Namer went
into default. Claims totaling more than $14 million were filed
against Universal Bonding, Crum & Forster, Westchester Fire, and
U.S. Fire.

Pursuant to a written plea agreement, Quackenbush
appeared before District Judge Jon Phipps McCalla on September 23,
1999 to enter a guilty plea to a two-count information. The first
count of the information charged Quackenbush with conspiracy to
commit wire fraud, mail fraud, and laundering of monetary
instruments, in violation of 18 U.S.C. § 371. The second count
charged Quackenbush, aided and abetted by Namer and others, with a
discrete act of money laundering, committed on or about October 3,
1994, in the amount of $7214.63, in violation of 18 U.S.C. §§
1956{a)(1)(B)(i) and 2. Judge McCalla issued an order accepting the
guilty plea on October 14, 1999. This judge conducted a sentencing
hearing on November 1, 2002, at which time Quackenbush was
sentenced to concurrent terms of forty-eight (48) months

imprisonment on each count,2 to be followed by a three-year period

 

2 Although the motion filed by Quackenbush on October 31, 2003 asserted

that the sentences on each count were consecutive, Motion to Vacate, Set Aside,
or Correct Sentence by a Person in Federal Custody, filed Oct. 31, 2003 (“D.
10/31/03 Mot.”), 1 4, that assertion is plainly inconsistent with the judgment
in the criminal case.

The sentences were calculated as follows: Pursuant to § 3D1.2 of the

United States Sentencing Guidelines (“U.S.S.G.”}, counts l and 2 were grouped
together for sentencing purposes. The base offense level for money laundering is
20. U.S.S.G. § 231.1(a)(2). Nine points were added to the base offense level
because the value of the funds exceeded $10,000,000 but was less than
(continued...)

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of supervised release. Judgment was entered on November 6, 2002.
Quackenbush did not take a direct appeal.

ln his original § 2255 motion, which was filed on October
31, 2003, Quackenbush argued that he received ineffective
assistance of counsel, in violation of the Sixth Amendment. ln
particular, Quackenbush alleged that his trial counsel (i) failed
to object to the calculation of the amount of laundered funds
contained in the presentence report; (ii) failed to argue that the
dominant conduct at issue in the offenses to which Quackenbush
entered guilty pleas was fraud; (iii) failed to challenge use of
the money laundering guideline in the presentence report; (iv)
failed to object to use of the 1998 edition of the Sentencing
Guidelines Manual; (v) failed to challenge the amount of the loss
attributable to Quackenbush; and (vi) labored under an apparent
conflict of interest, due to the fact that counsel may have
represented, or collaborated with, Universal Bonding in unrelated

civil matters.3

 

y (...continued)

$20,000,000. ld;, § 281.1(b)(2)(J). Quackenbush was also given a two-point
enhancement because of his abuse of a position of trust,r pursuant to U.S.S.G. §
3B1.3, and a three-point reduction for acceptance of responsibility, pursuant to
U.S.S.G. § 3El, resulting in a total offense level of 28. Given his criminal
history category of I, the guidelines called for a sentencing range of 78-97
months. At the sentencing hearing, the Government made a nmtion pursuant to
U.S.S.G. § 5K1.1, which the Court granted. 11/01/02 Tr. at 6-14. The Government
did not make a specific sentencing recommendation, but did request that
Quackenbush not receive a sentence of less than 48 months. ld; at 7. Consistent

with the Government’s request, the Court imposed a sentence of 48 months. ld. at
14.

3 As a preliminary matter, the motion filed by Quackenbush does not
comply with Rule Z(b) of the Rules Governing Section 2255 Proceedings for the
United States District Courts because he did not sign it under penalty of
perjury. Although Quackenbush did file an unsworn document on November 7, 2003,

(continued...)

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As previously noted, Quackenbush, through counsel, filed
a document on July 27, 2004, entitled “Defendant’s Supplement to
Motion to Vacate, Set Aside, or Correct Sentence by a Person in
Federal Custody” (“D. 07/2?/04 Supp.”), that sought, inter alia, to
assert a claim pursuant to the Supreme Court's decision in Blakely
v. Washington, 124 S. Ct. 2531 (2004). Moreover, on February 28,
2005, Quackenbush, through counsel, filed a document, entitled
“Third Supplement to Motion to Vacate, Set Aside, or Correct
Sentence by a Person in Federal Custody,” in which he sought to
assert a claim pursuant to the Supreme Court’s decision in United

States v. Booker, 125 S. Ct. 738 (2005).

 

lt is first necessary to consider whether Quackenbush is
entitled to amend his nmtion. There is ea one-year statute of
limitations applicable to the filing of a § 2255 motion. “[F]or
purposes of collateral attack,r a conviction becomes final at the

conclusion of direct review." Johnson v. United States, 246 F.3d

 

3 (,..continued)

entitled “Adoption of Counsel’s Motion to Vacate, Set Aside, or Correct Sentence
by a Person in Federal Custody," in which he stated that he “personally adopts”
the motion filed by counsel and “attests to the accuracy” of that motion, that
unsworn document is not the functional equivalent of signing the motion under
penalty of perjury. ln order to expedite the resolution of this matter, the Court
will consider those issues raised by Quackenbush concerning alleged errors in the
presentence report, as those issues do not implicate Quackenbush’s credibility.
To the extent Quackenbush chooses to pursue his claim that trial counsel had a
conflict of interest, he must first swear to the truth of his motion under
penalty of perjury.

Quackenbush’s original motion also fails to comply with that portion
of Rule 2(b) which requires “shall specify all the grounds for relief which are
available to the movant and of which he has or, by the exercise of reasonable
diligence, shall have knowledge and shall set forth in summary form the facts
supporting each of the grounds thus specified.” The motion filed by counsel does
not contain a coherent listing of the issues raised, and additional issues appear
to be raised in footnotes or as asides. For example, the motion suggests in a
footnote that counsel may not have received the presentence report and its
addenda in sufficient time to review them. D. 10/31/03 Mot. at 3 n.5.

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655, 65? (6th Cir. 2001). When a defendant does not take a direct
appeal, then, “an unappealed district court judgment of conviction
becomes ‘final’ ten days after the entry of judgment, at least
where the defendant has not actually sought an extension of appeal
time for good cause or excusable neglect.” Sanchez-Castellano v.
United States, 358 F.3d 424 (6th Cir. 2004}; see also United States
v. Cottage, 307 F.3d 494, 499 (6th Cir. 2002) (“when a § 2255
movant does not pursue a direct appeal to the court of appeals, his
conviction becomes final either on the date that the judgment was
entered . . . or on the date on which the time for filing such
appeal expired”; describing the latter as the “majority view”);
Chandler v. United States, 22 Fed. Appx. 399, 400 (6th Cir. Sept.
25, 2001). ln this case, as previously noted, see supra p. 6,
judgment was entered on November 6, 2002, and Quackenbush’s
conviction became final no later than the expiration of the time
for taking a direct appeal on November 18, 2002. Quackenbush's
proposed amendments, which was submitted after the limitations
period had already run, would not appear to be timely. Oleson v.
United States, 27 Fed. Appx. 566, 570-71 (6th Cir. Dec. 14, 2001).

Although Quackenbush would presumably argue that his
Blakelv and Booker amendments are timely because the running of the
limitations period commenced. on “the date on which the right
asserted was initially recognized by the Supreme Court, if that
right has been newly recognized by the Supreme Court and made
retroactively applicable to cases on collateral review,” 28 U.S.C.

§ 2255, l 5(3), he cannot demonstrate that Blakely and Booker have

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been made retroactively applicable to cases on collateral review.
“As a general rule, new constitutional decisions are not applied
retroactively to cases that were finalized prior to a new Supreme
Court decision.” Goode v. United States, 305 F.3d 378, 383 (6th
Cir. 2002); see Schriro v. Summerlin, 124 S. Ct. 2519, 2522-26
(2004) (holding that decision in Ring v. Arizona, which held that
a sentencing judge in a capital case may not find an aggravating
factor necessary for imposition of the death penalty, and that the
Sixth Amendment requires that those circumstances be found by a
jury, does not apply retroactively to cases on collateral
review); Teague v. Lane, 489 U.S. 288 (1989). Applying these
standards, the Sixth Circuit has held that Blakely and Booker
issues cannot be raised in an initial motion pursuant to 28 U.S.C.
§ 2255. Humphress v. United States, 398 F.3d 855, 860-63 (6th Cir.
2005). Accordingly, Quackenbush may not amend his § 2255 motion to
assert Blakely and Booker claims.

As previously noted, on August 13, 2004, Quackenbush
filed a duly executed factual affidavit asserting that trial
counsel failed to take a direct appeal. To the extent this
affidavit represents an attempt to amend his motion to assert a new
claim of ineffective assistance of counsel, the motion is DENlED as
untimely.

With respect to the issues raised in Quackenbush’s
initial motion, the Government first argues that errors in the
application of the sentencing guidelines are not cognizable in a §

2255 motion. Response to Petitioner's Motion under Title 28, United

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States Code, Section 2255, filed July 7, 2004 (“G. Br.”), at 1-4.
The Government’s position is without merit in light of the Supreme
Court’s decision in Glover v. United States, 531 U.S. 198 (2001),
which was not cited by either party. As a result of that decision,
the Sixth Circuit has stated that “challenges that cannot otherwise
be reviewed for the first time on a § 2255 motion can be reviewed
as part of a successful claim that counsel provided ineffective
assistance under the standard set forth in Strickland v.
Washington.” Weinberger v. United States, 268 F.3d 346, 351 (6th
Cir. 2001). Accordingly, the Court will proceed to the merits of
defendant’s ineffective assistance claims.

A claim that ineffective assistance of counsel has
deprived a defendant of his Sixth Amendment right to counsel is
controlled by the standards enunciated in Strickland v. Washington,
466 U.S. 668, 687 (1984):

A convicted defendant’s claim that counsel's
assistance was so defective as to require reversal of a
conviction or death sentence has two components. First,
the defendant must show that counsel's performance was
deficient. This requires showing that counsel made errors
so serious that counsel was not functioning as the
“counsel” guaranteed the defendant by the Sixth
Amendment. Second, the deficient performance prejudiced
the defense. This requires showing that counsel's errors
were so serious as to deprive the defendant of a fair
trial, a trial whose result is reliable. Unless a
defendant makes both showings, it cannot be said that the
conviction or death sentence resulted fron\a breakdown in
the adversary process that renders the result unreliable.

ln order to demonstrate deficient performance by counsel,

a defendant must demonstrate that “counsel’s representation fell

below an objective standard of reasonableness.” ld. at 688.

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Judicial scrutiny of counsel's performance must be
highly deferential. lt is all too tempting for a
defendant to second-guess counsel's assistance after
conviction or adverse sentence, and it is all too easy
for a court, examining counsel's defense after it has
proved unsuccessful, to conclude that a particular act or
omission of counsel was unreasonable. . . . A fair
assessment of attorney performance requires that every
effort be made to eliminate the distorting effects of
hindsight, to reconstruct the circumstances of counsel's
challenged conduct, and to evaluate the conduct from
counsel's perspective at the time. Because of the
difficulties inherent in making the evaluation, a court
must indulge a strong presumption that counsel's conduct
falls within the wide range of reasonable professional
assistance; that is, the defendant must overcome the
presumption that, under the circumstances, the challenged
action “might be considered sound trial strategy.”

ld; at 689 (citation omitted); see also Coe v. Bell, 161 F.3d 320,
342 (6th Cir. 1999) (“The specifics of what Coe claims an effective
lawyer would have done for him are too voluminous to detail here.
They also largely miss the point: just as (or more) important as
what the lawyer missed is what he did not miss. That is, we focus

on the adequacy or inadequacy of counsel's actual performance, not

counsel's (hindsight) potential for improvement.”); Adams v. Jago,
703 F.2d 978, 981 (6th Cir. 1983) (“a defendant ‘has not been

denied effective assistance by erroneous tactical decisions if, at
the time, the decisions would7 have seemed reasonable to the
competent trial attorney'”).

A prisoner attacking his conviction bears the burden of
establishing that he suffered some prejudice from his attorney’s
ineffectiveness. Lewis v. Alexander, 11 F.3d 1349, 1352 (6th Cir.
1993); lsabel v. United States, 980 F.2d 60, 64 (1st Cir. 1992).

“[A] court need not determine whether counsel's performance was

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deficient before examining the prejudice suffered by the
defendant.” Strickland, 466 U.S. at 697. lf a reviewing court finds
a lack of prejudice, it need. not determine whether, in fact,
counsel's performance was deficient. ld; at 697.

To demonstrate prejudice, a prisoner must establish “a
reasonable probability that, but for counsel's unprofessional
errors, the result of the proceeding would have been different.”
ld; at 694. “A reasonable probability is a probability sufficient
to undermine confidence in the outcome.” ;d;_Additionally, however,
in analyzing prejudice,

the right to the effective assistance of counsel is

recognized not for its own sake, but because of the

effect it has on the ability of the accused to receive a

fair trial. Absent some effect of the challenged conduct

on the reliability of the trial process, the Sixth

Amendment guarantee is generally not implicated.
Lockhart v. Fretwell, 506 U.S. 364, 368 (1993) (citing United
States v. Cronic, 466 U.S. 648, 658 (1984)); See also Strickland,
466 U.S. at 686 (“The benchmark for judging any claim of
ineffectiveness must be whether counsel's conduct so undermined the
proper functioning of the adversarial process that the trial cannot
be relied on as having produced a just result.”). “Thus analysis
focusing solely on mere outcome determination, without attention to
whether the result of the proceeding was fundamentally unfair or
unreliable, is defective.” Lockhart, 506 U.S. at 369. Where, as
here, a defendant contends that he received ineffective assistance

of counsel in connection with his sentencing, the Supreme Court has

held that any increase in a defendant's sentence constitutes

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prejudice within the meaning of Strickland. Glover v. United
States, 531 U.S. at 202-04.d

The most substantial issue raised in the defendant’s
motion is the assertion that trial counsel rendered ineffective
assistance by failing to object to the calculation of the amount of
the laundered funds in the amount of $l8.5 million. D. 10/31/03
Mot. at 3-4. As previously mentioned, see §gp;a p. 5 n.2, the money
laundering guideline, U.S.S.G. § 281.1, was used to calculate the
base offense level. Quackenbush received a nine-level enhancement,
pursuant to U.S.S.G. § ZSl.l(b)(Z)(J), because “the value of the
funds” exceeded $10 million. As the first ground for his § 2255
motion, Quackenbush argues that the nine-level enhancement was
improperly applied because “the value of the funds” refers to the
amount of funds that were “laundered”-in this case, the $121,114.37
in bribes that were paid to Quackenbush, see Presentence Report, I
l7-rather than the value of the performance bonds that were issued,
see id;, 33 13-14, the funds received from investors and financial
institutions, or the losses to the victims of the fraudulent

scheme, id., II 18, 20.

 

“ The only issue before the Supreme Court in Glover, 531 U.S. at 199-

200, was whether an increase in a defendant's sentence due to a misapplication
of the sentencing guidelines constituted prejudice within the meaning of
Strickland. Thus, the Supreme Court did not address the standard for assessing
whether an attorney's failure to recognize an error in the application of the
sentencing guidelines constituted deficient performance. ld¢ at 205. For purposes
of this order, the Court assumes that any failure to object to an error in the
presentence report constitutes satisfies the first prong of Strickland. ln light
of the complexity of the guidelines at issue here, and the fact that any error
by the experienced probation officer who prepared the report overlooked by the
Government and this judge, it is far from clear that that assumption is correct.

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Although Quackenbush’s motion is premised on the fact
that the only relevant conduct that falls within the purview of the
money-laundering statute was the receipt of bribes by him, he cites
no authority for that proposition. Moreover, analysis of the
application of the § 2Sl.1(b){2) enhancement is complicated by the
fact that the guidelines do not define “the value of the funds,”
and neither party has cited any decision interpreting this
language. The law is clear that the amount of loss to the victims
has no bearing on the defendant’s offense level under the money-
laundering guideline. See, e.g., Ghosheh v. United States, Nos. 96-
6203, 96-6204, 1998 WL 180560, at 1'*2 (6th Cir. Apr. 9, 1998) (per
curiam); United States v. Thompson, 40 F.3d 48, 51-52 (3d Cir.
1994). Thus, the nine-level enhancement was warranted only if “the
value of the funds” refers to the funds received from investors or
financial institutions or the face amount of the performance bonds
that were issued.

ln response to the defendant's motion, the Government
states as follows:

The defendant argues that the amount of funds
laundered in the Presentence Report is incorrect. The
Presentence Report used $18,500,000.00 as the amount of
funds to be laundered. The defendant seeks to argue that
the amount is actually $l21,000.00. This statement is
completely erroneous and ignores considerable information
presented to the court. First, the defendant ignores
count one of the indictment [sic] charging the defendant
conspired to commit $18,500,000.00 in fraud against the
investing public. Additionally, ‘it also charges he
conspired to launder funds in furtherance of the scheme.
Obviously, as part of the conspiracy, the defendant does
not actually have to conduct the financial transactions,

but simply agrees to assist in the crime. Paragraphs one
through ten of the Presentence Report clearly lay out the

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scheme whereby Namer and Baresel[b] were selling millions
of dollars of fraudulent notes in a scheme to defraud the
investing public. Paragraph eleven states: “ln order to
execute the scheme, Namer enlisted the services of
Richard Quackenbush, Vice-President of underwriting for
Universal Bonding.” Thus, the defendant agreed to assist
in defrauding the investing public of the $18,500,000.00
in notes sold with fraudulent insurance issued by Mr.
Quackenbush. Thus, he also agreed that every financial
transaction necessary in these securities, i.e., sales to
investors, transfers between brokerage accounts,
transfers to trustees, transfers to bank accounts of
Network Mortgage Services,[G] all were part of the
conspiracy.

ln short, the $18,500,000.00 in money laundering
could not have occurred but for Richard Quackenbush’s
issuance of the insurance. The record is clear that
Quackenbush reviewed numerous private placement
memorandums prior to the issuance and knew these
financial transactions were going to be conducted. .
By issuing the insurance, he agreed to assist in causing
these transactions to occur.

The defendant seeks to argue that the only amount
laundered was the amount paid to him. ln the defendant's
petition, he simply makes a conclusory statement and
fails to demonstrate to the court how the other financial
transactions directly caused by Mr. Quackenbush are not
money laundering violations. Obviously, conclusory
statements are insufficient upon which to reverse the
District Court's sentencing order.

G. Br. at 4-5. Unfortunately, the Government cites no authority for
the proposition “every financial transaction necessary in these
securities, i.e., sales to investors,r transfers between brokerage
accounts, transfers to trustees, transfers to bank accounts of

Network Mortgage Services” constitutes money laundering. Moreover,

the Government does not attempt to correlate those various sales

 

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Baresel is not mentioned in the information filed against
Quackenbush.

6 Network Mortgage Services is not mentioned in the information filed

against Quackenbush.

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and transfers to the calculation of the value of the funds in the
presentence report.

ln his reply, which was filed on July 27, 2004,
Quackenbush asserts that the Government's response failed to
distinguish “between allegations of fraud, and allegations of money
laundering.” D. 07/27/04 Supp. at 7 (emphasis omitted). However,
although Quackenbush asserts that mail and wire fraud “are entirely
separate crimes” from nwney laundering, ida, he fails to cite
authority for the proposition that the receipt of money from a
fraudulent scheme is ngt money laundering, see id; at 8 n.16.

ln order to resolve this aspect of the defendant’s
motion, it is first necessary to consider whether the various sales
and transfers identified in the Government's response constitute
money laundering. The elements of the money laundering offenses

with which Quackenbush was charged7 are:

 

'7 The statute provides as follows:

Whoever, knowing that the property involved in a financial
transaction represents the proceeds of some form of unlawful
activity, conducts or attempts to conduct such a financial
transaction which in fact involves the proceeds of specified unlawful
activity-

(A)(i) with the intent to promote the carrying on of
specified unlawful activity; or

(B) knowing that the transaction is designed in whole or in
part-

(i) to conceal or disguise the nature, the locationr
the source, the ownership, or the control of the proceeds of
specified unlawful activity;

shall be sentenced to a fine of not more than $500,000 or twice the
value of the property involved in the transaction, whichever is
{continued...)

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“(l) use of funds that are proceeds of unlawful activity;
(2) knowledge that the funds are proceeds of unlawful
activity; and (3) conduct[ing] or attempt[ing] to conduct
a financial transaction, knowing that the transaction is
designed in whole or in part to disguise the nature,
source, ownership, or control of the proceeds.”
United States v. Prince, 214 F.3d 740, 747 (6th Cir. 2000) (quoting
United States v. Moss, 9 F.3d 543, 551 (6th Cir. 1993)).8

With respect to the Government’s assertion that the
receipt of funds from financial institutions and investors itself
constitutes money laundering, the first element, use of funds that
are proceeds of an unlawful activityr is apparently satisfied in
this case because “the money, once wired by the victims,
constituted proceeds of wire fraud.” ld; at 748; see also id; at
747-50. Quackenbush’s guilty plea is also sufficient to satisfy the
second element, knowledge that the funds are proceeds of unlawful
activity.

The third element of money laundering, conducting or
attempting to conduct a financial transaction knowing that the
transaction is designed in whole or in part to disguise the nature,
location, source, ownership, or control of the proceeds, is more

difficult to analyze in the context of this case. At least some of

the various transfers and sales described by the Government would

 

7 (...continued)

greater, or imprisonment for not more than twenty years, or both.

18 U.S.C. § l956(a)(1)(A)(i) & (B)(i).

6 The conduct charged in the second count of the information,
concerning Quackenbush’s receipt of a specific bribe, plainly constitutes money
laundering. Likewise, to the extent the first count of the information charges
Quackenbush with receiving bribes, that plainly satisfies the elements of money
laundering under the facts of this case.

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appear to constitute financial transactions within the meaning of
18 U.S.C. § 1956(c)(4).9 For example, it can persuasively be argued
that the transfer of the proceeds of the bond offerings from the
trustee to the corporations controlled by Namer constituted a
financial transaction within the meaning of the money laundering
statute. §ee Prince, 214 F.3d at 750-51; see also idL at 751 n.7
(citing United States v. Cavalier, 17 F.3d 90 (5th Cir. 1994)).10

ln order to satisfy the third element of money
laundering, it is also necessary to demonstrate that Quackenbush
knew that “the transaction is designed in whole or in part to
conceal the nature, location, source, ownership,r or control of the

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proceeds.’ ln Prince, 214 F.3d at 750, a case with some factual
similarities to the instant case, the defendant argued that the
third element was not satisfied because there was no proof of a

subsequent financial transaction designed to conceal the nature of

the funds. The Sixth Circuit rejected that argument on the ground

 

That provision defines “financial transaction” as

(A) a transaction which in any way or degree affects interstate or
foreign commence (i) involving the movement of funds by wire or other
means or (ii) involving one or more monetary instruments, or (iii)
involving the transfer of title to any real property, vehicle,
vesselr or aircraft, or (B) a transaction involving the use of a
financial institution which is engaged in, or the activities of which
affect, interstate or foreign commerce in any way or degree.

See also 18 U.S.C. §§ l956(c)(3) (defining “transaction”), 1956(c)(5) (defining
“monetary instruments”).

w Significantly, however, the analysis in Prince seems to preclude the

possibility that the initial transfers of funds from the victims, either by wire
or mail, itself constituted “financial transaction[s]” sufficient to satisfy the
third element. §ee_ id;_ at 750 (“The subsequent transactions involving the
proceeds of wire fraud constitute financial transactions as defined in section
1956.”) (emphasis added).

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that “[t]he evidence presented suggests that Prince, at the very
least, aided and abetted in a scheme in which there was an attempt
to conceal the true owner and controller of funds.” lg; at 751-52.ll
Likewise, in this case, the first count of the information charges
Quackenbush, pursuant to 18 U.S.C. § 2, of aiding and abetting
Namer's scheme in which there was an attempt to conceal that he
controlled the proceeds of the bond offerings. lt is arguabler
therefore, that the money laundering allegations in the first count
of the information encompass more than just the bribes paid to
Quackenbush.

ln response, Quackenbush argues, in essence, that the
information does not clearly allege any acts of money laundering
other than the bribes paid to him and, therefore, it is
unreasonable to conclude that his guilty plea encompassed any
admission that the various sales and transfers relied on by the
Government constituted money laundering or that he aided and
abetted those sales and transactions. D. 07/27/04 Supp. at 6-9.
Although this argument has some persuasive value, the defendant has
failed to cite the legal standards for factual specificity in a
criminal information. The defendant also has not cited any
authority for the proposition that a guilty plea must encompass not
only an admission that there is a sufficient factual basis to

convict on the offenses stated in the information, but also an

 

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In so holding, the Sixth Circuit cited United States v. Elderr 90
F.3d 1110, 1125-26 (6th Cir. 1996), a case in which a defendant’s conviction for
money laundering was affirmed on the basis of evidence that she wired money in
her own name to conceal the fact that the money constituted drug proceeds that
belonged to a codefendant.

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admission that each and every legal characterization advanced by
the Government is accurate. Moreover, to the extent Quackenbush
purports to rely on Blakelv v. Washington, see D. 07/27/04 Supp. at
8-9, that argument is foreclosed by the Sixth Circuit's decision in
Humphress. See supra pp. 8-9.

The briefs submitted by Quackenbush and the Government
are insufficient to permit the Court to determine the nine-point
enhancement based on “the value of the funds,” U.S.S.G. §
281.1(b)(2)(J), was appropriate. lf that enhancement was not
appropriate, it appears likely that the guideline range contained
in the presented report was too high.12 lf that is the case, and if
it is also demonstrated that trial counsel's failure to call
attention to that error constituted deficient performance within
the meaning of Strickland, see supra p. 13 n.4, then Quackenbush
would be entitled to have his sentence vacated and to be
resentenced under the correct guidelines. Accordingly, the
Government is ORDERED, within thirty (30) days of the date of entry
of this order, to file a supplemental brief describing, in detail
and with citations to any applicable legal authority, its position

concerning (i) the scope of the money laundering allegations in the

 

n The other challenges to the guideline calculation in the presentence

report rest on the assumption that only the bribes paid to Quackenbush
constituted money laundering. One such example is Quackenbush's argument that he
should have been sentenced under the fraud guidelines, rather than the guidelines
for money laundering. D. 10/31/03 Mot. at 4-5. Moreover, even if the Court were
to accept the defendant’s view that the money laundering encompasses only the
bribes paid to him, Quackenbush cites no authority rejecting application of the
money-laundering guideline in circumstances similar to this one. Likewise, the
Court is unable to conclude that the presentence report used the wrong edition
of the sentencing guidelines manual in the absence of any evidence that use of
a later edition prejudiced Quackenbush in violation of the ex post facto clause.
United States v. Kussmaul, 987 F.2d 345, 350-52 (6th Cir. 1993).

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first count of the information; (ii) the manner of calculation of
the nine-point enhancement, pursuant to U.S.S.G. § 281.l(b)(2)(J);
and (iii) whether Quackenbush's guilty plea was intelligent and
voluntary in light of his present position that he had no idea he
was pleading guilty to any money laundering offense other than the
receipt of approximately $121,000 in bribes. Quackenbush is
ORDERED, within thirty (30) days after the date the Government’s
brief is filed, to submit a supplemental brief demonstrating, in
detail and with citations to any applicable legal authority, why
the sentencing guideline calculations contained in the presentence
report are legally erroneous. Both parties are also welcome to
submit any legal argument concerning the standards for determining
deficient performanbe by an attorney in connection with the
misapplication of the sentencing guidelines.

Finally, Quackenbush has filed motions, on September 10,
2004; October 19, 2004; and December 10, 2004, motions seeking a
prompt disposition of his § 2255 motion. ln light of the issuance
of this order, each of these motions is DENIED as moot. The length
of time it has taken to resolve this motion is attributable to the
press of other business properly before the Court, as well as the
extreme complexity of the issues presented by this motion. To the
extent the defendant is concerned about the time it takes to
resolve his motion,r his remedy is to file a motion for release on
bail, pursuant to Fed. R. App. P. 23(b}. To the extent Quackenbush
is seeking an immediate evidentiary hearing, his motions are

DENlED. For the reasons set forth in this order, Quackenbush has

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not made the threshold showing that the sentence calculations in
the presentence report were erroneous. Once that issue has been
resolved, the Court will consider whether an evidentiary hearing is

necessary on the issue of deficient performance.

iT is so oRDERED this 2545 day of Aprii, 2005,

     

 

RNICE . DONALD `
NlTED STATES DISTRICT JUDGE

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This notice confirms a copy of the document docketed as number 21 in
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